                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
                                           )
               v.                          )
                                           ) Criminal Action No. 23-cr-61-MN
 ROBERT HUNTER BIDEN,                      )
                                           )
                      Defendant.           )


                                         ORDER
                      7th
       AND NOW, this ________ day of June, 2024, having considered the Government’s

Motion to Unseal Documents Previously Filed Under Seal (D.I. 215) IT IS HEREBY

ORDERED that the Government’s motion is GRANTED. IT IS FURTHER ORDERED that

the Clerk is directed to UNSEAL the documents attached as Exhibits 1 and 2 to the

Government’s Sealed Motion Requesting Sealed Order Compelling Testimony Pursuant to

Title 18, United States Code, Sections 6001-6003 (ECF 167), as the reasons for sealing those

documents no longer exist.


6/7/2024
______________________                                  ______________________________
Date                                                    Hon. Maryellen Noreika
                                                        United States District Judge
